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                                      EXHIBIT A

              Proposed Revised Order Approving Memorandum of Understanding




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                           Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )                           Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1

                                        )
                    Debtors.            )                           Jointly Administered
                                        )
                                        )                           Related to Docket Nos. 4128, 4129 and 4130


      ORDER APPROVING MEMORANDUM OF UNDERSTANDING RE GLOBAL
     SETTLEMENT AMONG, INTER ALIA, DEBTORS, DEBTORS’ SUBSIDIARIES,
   COMMITTEE, TENET, CONIFER, MBNF PARTIES, HSRE ENTITIES AND CONA
   PARTIES, WHICH PROVIDES FOR, INTER ALIA, RESOLUTION OF ADVERSARY
  PROCEEDINGS, WITHDRAWAL OF CLAIMS, ALLOCATION AND DISTRIBUTION
    OF ASSETS FROM RRG AND CONSENSUAL SUBSTANTIVE CONSOLIDATION
            OF CERTAIN ASSETS, CONTRACTS AND LIABILITIES OF
      NON-DEBTOR BROAD STREET PROPCOS WITH DEBTOR CENTER CITY
            HEALTHCARE, LLC, AND GRANTING RELATED RELIEF

           Upon consideration of the Debtors’ Motion For Orders: (I) Approving Memorandum of

  Understanding Re Global Settlement Among, Inter Alia, Debtors, Debtors’ Subsidiaries,

  Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA Parties, Which Provides

  For, Inter Alia, Resolution of Adversary Proceedings, Withdrawal Of Claims, Allocation and

  Distribution of Assets From RRG and Consensual Substantive Consolidation of Certain Assets,

  Contracts and Liabilities of Non-Debtor Broad Street PropCos With Debtor Center City

  Healthcare, LLC, and Granting Related Relief; and (II) Approving Related Settlement Agreement




  1        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
           are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
           Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
           L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
           L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
           L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
           IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540).



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and Release With Travelers Casualty and Surety Company of America (the “Motion”)2 by which

the Debtors request, among other things3, the entry of an order, pursuant to sections 105(a) and

363 of Title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 9019,

(a) approving the Memorandum of Understanding Re Global Settlement Among, Inter Alia,

Debtors, Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and

CONA Parties attached hereto as Exhibit 1 (collectively with the schedules and exhibits attached

thereto, the “MOU”), including (i) resolving certain adversary proceedings and certain other

contested matters, (ii) withdrawing certain claims and allowing certain other unsecured claims,

(iii) approving the allocation and distribution of assets from Philadelphia Academic Risk Retention

Group, LLC, and (iv) approving the substantive consolidation of the Broad Street PropCos’ Assets

and certain liabilities with Debtor Center City Healthcare, LLC and (b) granting such other and

further relief as the Court deems just and proper, all as more fully set forth in the Motion; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2019; and this Court having determined that it may enter a final order consistent

with Article III of the United States Constitution; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate and no other

notice need be provided; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. §§ 1408 and 1409; and the Court having reviewed and considered the Motion, any

responses thereto; and the Court having held a hearing on the Motion on August 29, 2022 at 10:30




2        Unless the context indicates otherwise, capitalized terms used but not defined herein shall have the meanings
         ascribed to them in the MOU.

3        The Debtors’ request for approval of the Travelers Settlement will be addressed in separate order of the Court.


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a.m. ET (the “Hearing”); and the Court having considered the evidence and arguments of counsel

presented at the Hearing and the Declaration of Allen Wilen in Support of Debtors’ Motion for

Approval of (I) Memorandum of Understanding Re Global Settlement Among, Inter Alia, Debtors,

Debtors’ Subsidiaries, Committee, Tenet, Conifer, MBNF Parties, HSRE Entities and CONA

Parties, Which Provides For, Inter Alia, Resolution of Adversary Proceedings, Withdrawal of

Claims, Allocation and Distribution of Assets From RRG and the Substantive Consolidation of

Certain Assets, Contracts and Liabilities of Non-Debtor Broad Street PropCos with Debtor Center

City Healthcare, LLC; and (II) Related Settlement Agreement and Release with Travelers Casualty

and Surety Company of America [Docket No. 4200]; and this Court finding that the decision to

enter into the MOU is within the sound business judgment of the Debtors and that approval of the

MOU is in the best interest of the Debtors’ estates, their creditors, and other parties in interest; and

this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.        The Motion is GRANTED as set forth herein.

         2.        Pursuant to Bankruptcy Rule 9019, the MOU is hereby APPROVED in all respects.

         3.        The Parties to the MOU are authorized to take all appropriate actions required to

effectuate the terms of the MOU and perform their respective obligations thereunder.

         4.        The actions necessary for the RRG Dissolution and the distribution of RRG

Proceeds provided for in Section 2 of the MOU are authorized and approved, and no further

authorization or approval from the Court is required therefor, including pursuant to the Order




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(I) Authorizing Debtors to Enter into Assignment, Assumption and Novation Agreement Pursuant

to 11 U.S.C. § 363 and (II) Granting Related Relief [Docket No. 3710].

         5.        On and after the MOU Implementation Date, the applicable Parties to the MOU

shall implement, and fully comply with, the transactions, actions, and steps set forth in

Sections 3(a)(i) – 3(a)(xx) of the MOU in the sequence set forth therein; provided, that, if any step

is delayed in implementation or effect but has occurred, it shall nevertheless be deemed to have

occurred in the indicated sequence.

         6.        On the MOU Implementation Date, the Assets of Broad Street Healthcare

Properties, LLC, Broad Street Healthcare Properties II, LLC and Broad Street Healthcare

Properties III, LLC (collectively, the “Broad Street PropCos”) set forth on Schedule 3(a)(vi) to

the MOU, including, without limitation, the Real Estate (as defined below and in the MOU), shall

be substantively consolidated with the assets of Debtor CCH, subject to all liens (other than the

liens to be satisfied and/or released pursuant to the MOU), agreements/encumbrances running with

the land (including, for the avoidance of doubt, the REAs and Unity of Use Agreements). For the

avoidance of doubt, (a) the Assets to be substantively consolidated with CCH shall not include,

and shall not be deemed to include: (i) any claim held by any of the Broad Street PropCos against

any of the other MBNF Parties, the MBNF Affiliates, any of their respective Representatives, or

any of the Broad Street Lenders, or (ii) with respect to any professional or advisor of any of the

Broad Street PropCos, including those listed in item 36(a) of Schedule 3(a)(vii) to the MOU, any

engagement or services agreement, deliverable or rights thereunder, including any retainer or

privileged communication, in which any Broad Street PropCo may have any interest, rights or

entitlement, and (b) no power, right or privilege granted by any Broad Street PropCo to CCH




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pursuant to any Power of Attorney shall be exercised by CCH in a manner inconsistent with the

MOU.

         7.        Pursuant to Section 3(a)(vi) of the MOU, CCH shall have the sole and exclusive

authority to use, possess, lease, encumber, sell, transfer, assign, convey, or otherwise dispose of

the Real Estate and/or such other Assets, and to execute any and all necessary and/or desirable

bills of sale, deeds and other documents and agreements effectuating any such use, possession,

lease, encumbrance, sale, transfer, assignment, conveyance and/or other disposition, in the name,

and on behalf, of the Broad Street PropCos and/or CCH, subject to the terms of the MOU and

further order of the Bankruptcy Court or the Plan, as applicable. Further, as set forth in Schedule

3(b) of the MOU, the Real Estate shall be managed, marketed and sold by CCH, together with the

Committee, Tenet and the HSRE Entities (with CONA having observation rights). Any Financial

Liability resulting from CCH’s exercise of its powers, rights, and/or privileges in respect of the

Assets shall be the Financial Liability solely of CCH, and no Financial Liability shall be incurred

by any Broad Street PropCo to any third party or otherwise as a result of CCH’s exercise of such

powers, rights, and/or privileges. For the avoidance of doubt, CCH shall not (i) be liable for any

obligation of any of the Broad Street PropCos to any of the other MBNF Parties or to any of their

Representatives and (ii) acquire any claim held by any of the Broad Street PropCos against any of

the other MBNF Parties, the MBNF Affiliates, any of their respective Representatives, or any of

the Broad Street Lenders.

         8.        As set forth in the MOU, the term “Real Estate” means the following properties,

as more particularly described by the legal descriptions attached to the MOU as Schedule D,

together with all of right, title and interest in and to all improvements and fixtures located thereon,

and all rights, privileges and recorded easements appurtenant to any of the foregoing:



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                         Property Name                     Philadelphia, PA Address       OPA

    North Tower, South Tower                              222-248 N. Broad Street         772025002

    (Land next to SHSH Building)                          221-223 N. 15th Street           772028498

    Stiles Alumni Hall Underground                        325 N. 15th Street              881038202

    Martinelli Park                                       300-304 N. Broad Street          885620242

    (redevelopment land/surface parking) (city block) 200-214 N. Broad Street             885467862

    SHSH Building (city block)                            201-219 N. 15th Street          772028496


         9.        On the MOU Implementation Date, the liabilities relating to the preservation and

maintenance of the Real Estate and such other liabilities, solely as described on Schedule 3(a)(vii)

to the MOU shall be substantively consolidated with the postpetition liabilities of CCH such that

the liabilities set forth on Schedule 3(a)(vii) to the MOU shall become payable by CCH if past

due, due or otherwise payable as incurred in the ordinary course.

         10.       Notwithstanding the implementation of the step described in Section 3(a)(xiv) of

the MOU, the HSRE Entities, on account of the HSRE-PAHH Note, shall have recourse only to

the HSRE Entities’ share of the proceeds of a Sale of the Real Estate as set forth on Schedule 3(b)

of the MOU, without regard to which of the Debtors become obligated (on a non-recourse basis

except to the Real Estate and the proceeds of a Sale thereof) under the HSRE-PAHH Note.

         11.       For the avoidance of doubt, as a result of entering into the MOU, none of the Broad

Street PropCos nor the RRG shall be: (a) considered debtors or debtors in possession in the Chapter

11 Cases or any other case; (b) deemed to have filed voluntary petitions for relief under Chapter

11 of the Bankruptcy Code; or (c) responsible for any reporting obligations under the Bankruptcy

Code, including, without limitation, schedules of assets and liabilities, schedules of current income




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and expenditures, schedules of executory contracts and unexpired leases, statement of financial

affairs, and monthly operating reports.

         12.       The Debtors are authorized to incur all obligations and make all payments pursuant

to the MOU on and after the MOU Implementation Date without further order of the Court.

         13.       Upon the MOU Implementation Date, but subject to the completion of the actions

set forth in Sections 3(a)(i) through 3(a)(vi) of the MOU, Tenet shall have a single allowed

general unsecured non-priority claim against the Debtors in the amount of $30,000,000.

         14.       Upon the filing of the MOU Release Notice, but subject to the Debtors’ receipt of

the payment set forth in Sections 4(d) and 4(e) of the MOU, the HSRE Entities shall have a single

allowed general unsecured non-priority claim against the Debtors in the amount of $30,000,000

subject to Capital One, N.A.’s first-priority security interest in the HSRE Claims.

         15.       On the MOU Implementation Date, but prior to the implementation step set forth

in Section 3(a)(xiii) of the MOU, the Third Party Escrow Agent shall release to Land Services

USA, Inc. the signed joint authorization of PAHH and HSRE JV, consented to by Capital One,

N.A., attached to the MOU as Exhibit 9, directing the release of the Escrowed Funds to an account

at Capital One, N.A., in its capacity as administrative agent, on behalf of HSRE JV, designated by

Capital One, N.A. and the HSRE Entities.

         16.       The Debtors are hereby authorized to engage Omni Agent Solutions to serve as

Third Party Escrow Agent to perform the services set forth in the MOU and to pay the Third Party

Escrow Agent all reasonable fees and costs necessary to effectuate the terms and conditions of the

MOU, without further application to or order of the Court. The Debtors are also hereby authorized,

without further application to or order of the Court (i) to engage and compensate (subject to

reimbursement from the proceeds of the Sale as set forth in the MOU) Albert A. Mezzaroba as



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“sale process manager” to perform the services set forth in Schedule 3(b) to the MOU, (ii) to

employ and compensate NKF to manage the Real Estate in accordance with the MOU, and

(iii) capitalize PAHS Equity Buyer in such amount as may be agreed by the Debtors and the

Committee.         The engagement of a broker to market the Real Estate, and such broker’s

compensation, shall require separate application to, and order of, the Court. For the avoidance of

doubt, and notwithstanding paragraph 30 of the MOU, this Order shall also be deemed to approve

the agreement among the members of the Oversight Committee with respect to sections 1(b)(iv)

and 7 of Schedule 3(b) of the MOU as was agreed by the members of the Oversight Committee by

emails among counsel on August 7, 2022.

         17.       For the avoidance of doubt, the Order Denying the Motion of the Broad Street

Entities and PAHH for Entry of an Order (I) Determining That the Automatic Stay Does Not Apply

to Their Assets or (II) in the Alternative, Granting Limited Relief from the Automatic Stay for Them

to Sell, Transfer, or Otherwise Encumber Such Assets [Docket No. 3261] (the “Stay Order”), to

the extent applicable, shall not prevent the implementation, effectuation, or the consummation of

the terms of the MOU. To the extent of any conflicts between this Order and the Stay Order, this

Order shall control.

         18.       In fulfilling its obligations in connection with the MOU, the Third Party Escrow

Agent may, without liability to any Party, rely upon: (i) the filing of the MOU Implementation

Date Certification; (ii) the MBNF Direction Letter delivered to the Third Party Escrow Agent in

accordance with Section 51 of the MOU; and (iii) the filing of the MOU Release Notice. Any

liability of the Third Party Escrow Agent to any of the Parties to the MOU shall be limited to the

total amount paid for the Third Party Escrow Agent’s escrow agent services, except to the extent

such liability arises from the Third Party Escrow Agent’s gross negligence or willful misconduct.



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         19.       Promptly after the filing of the MOU Release Notice, the official claims registers

in the Debtors’ Chapter 11 Cases shall be deemed updated and modified consistent with the terms

of the MOU. Omni Agent Solutions, the Debtors’ claims and noticing agent, shall adjust the

official claims register to withdraw or modify any filed or scheduled claims consistent with the

MOU and Schedule 46 attached thereto.

         20.       The terms and provisions of this Order and the MOU shall be binding upon any

chapter 7 or chapter 11 trustees, successor and/or assignee of the Debtors and the respective

successors and assigns of the Parties.

         21.       For purposes of clarity, nothing in the MOU, and nothing in this Order, shall (a)

have the effect of approving or confirming any aspect of a chapter 11 plan in the Chapter 11 Cases;

or (b) prejudice the Office of the United States Trustee’s right to object to confirmation of a chapter

11 plan in the Chapter 11 Cases on any and all grounds, with all such plan objections being fully

preserved.

         22.       For further purposes of clarity, the MOU does not include releases (a) from the

Debtors in favor of (i) the Debtors’ professionals and the Debtors’ Representatives or (ii) the

Committee and its professionals and Representatives; nor (b) from the Committee in favor of (i)

the Committees’ professionals and its Representatives or (ii) the Debtors and their professionals

and the Debtors’ Representatives.

         23.       The rights and interests, if any, of IS BBFB LLC and IS 245 North 15th LLC in the

Real Estate shall not be impaired by any prior order of the Court, this Order, the MOU or the

substantive consolidation of the Real Estate with CCH, provided, however, that any such rights or

interests are subject to all claims, defenses, affirmative defenses, counterclaims, rights, setoffs and

recoupments, all of which shall be substantively consolidated with, and may be asserted by, CCH.



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         24.       The allocation among the Debtors’ estates of the Debtors’ portion of the Net Sale

Proceeds of the Sale of the Real Estate shall be subject to further order of the Court after notice

and a hearing.

         25.       Notwithstanding anything to the contrary contained in the MOU, (a) Section 47 of

the MOU does not apply to any written notices, written correspondence and electronically

transcribed voicemail messages that are (i) subject to attorney-client privilege, and/or attorney

work product protection of any MBNF Party associated with such information; or (ii) internal

communications (i.e. generated solely among any of the MBNF Parties, Sonsara Management

Services, LLC, Jigsaw Advisors, LLC, MBNF Equity Buyer LLC, MBNF Liquidator LLC, MBNF

Parent 1 Corporation and/or MBNF Parent 2 Corporation); (b) all obligations under Section 47 of

the MOU shall cease and terminate, without any further action by any Party, upon the closing of

the Sale or other disposition of all of the Real Estate by the Debtors; and (c) Schedule 3(a)(vii) to

the MOU shall be deemed to include the Broad Street PropCos REAs and the Broad Street PropCos

Unity of Use Agreements.

         26.       Notwithstanding anything to the contrary contained in the MOU, Section 39 of the

MOU (“Mutual Non-Disparagement”) shall have no force or effect from and after five (5) years

after the entry of an order closing of the last of the Chapter 11 Cases.

         27.       Notwithstanding the applicability of any Bankruptcy Rule to the contrary, this

Order shall be effective immediately upon entry.

         28.       The automatic stay under section 362(a) of the Bankruptcy Code is lifted to the

extent necessary to implement the MOU, including as may be applicable to the filing of any

dismissals or withdrawals as provided in Section 15 of the MOU.




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         29.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local Rules

are satisfied by such notice.

         30.       The Court shall retain jurisdiction with respect to all matters arising from or related

to the interpretation, implementation, and enforcement of this Order and/or the MOU.




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